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                             UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

   MICHAEL WAGNER,

                           Plaintiff,

   v.                                                     Case No: 6:14-cv-281-Orl-31GJK

   SURREY VACATION RESORTS,
   INC., PASSPORT HOLIDAYS, LLC
   and CLC FRACTIONAL LLC,

                           Defendants.


                                        ORDER OF DISMISSAL
          Upon consideration of the Stipulation of Voluntary Dismissal (Doc. 80), and

   pursuant to Fed. R. Civ. P. 41(a), it is hereby

          ORDERED that Plaintiff’s claims against Defendants in this action shall be

   dismissed with prejudice, and the claims of the putative class members are dismissed

   without prejudice, each party to bear its own fees and costs. Any pending motions are

   DENIED as moot. The Clerk is directed to close this file.

          DONE and ORDERED in Chambers in Orlando, Florida on April 21, 2015.




                                                                                            

   Copies furnished to:

   Counsel of Record
   Unrepresented Parties
